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                  UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHGIAN
                         SOUTHERN DIVISION
                   ___________________________________

REVEREND JARED CRAMER,
                                                    Case No. 1:23-CV-
        Plaintiff,
                                                    Hon. ______________________

v.

OTTAWA COUNTY,
a Michigan County;
OTTAWA COUNTY BOARD OF COMMISSIONERS; and
JOE MOSS,
Chairman of the Ottawa County Commission, in his
individual and official capacities,

        Defendants.
_________________________________________________________________

                COMPLAINT AND JURY DEMAND
_________________________________________________________________

        Plaintiff Reverend Jared Cramer, by and through his attorneys, Pinsky Smith,

PC, states as follows:

                      JURISDICTION, VENUE, AND PARTIES

        1.     This is an action seeking declaratory and injunctive relief, as well as

damages, for religious discrimination contrary to the First Amendment of the U.S.

Constitution, pursuant to 42 U.S.C. § 1983.

        2.     The Court has jurisdiction over this action pursuant to 28 U.S.C. §

1331.

        3.     Plaintiff Reverend Jared Cramer has been the priest at St. John’s


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Episcopal Church in Grand Haven, Michigan for the past 13 years. He is a resident

of the township of Grand Haven, Ottawa County, Michigan, and of the Western

District of Michigan, Southern Division.

      4.     Defendant Ottawa County (“the County”) is a local unit of government

organized pursuant to the state of Michigan. It is the seventh largest county within

the State of Michigan, and is located in the Western District of Michigan.

      5.     Defendant Ottawa County Board of Commissioners (“the Commission”)

is the governing county commission for Ottawa County, organized under state law.

      6.     Defendant Joe Moss is a resident of the County and is the Chairperson

of the Commission.

      7.     The acts that are the subject of this action occurred in Ottawa County.

      8.     Venue is proper within this judicial district under 28 U.S.C. § 1391(b).

                             FACTUAL ALLEGATIONS

      9.     Defendant Moss was elected to the Commission in November 2022 and

began his official term as Chairperson on January 3, 2023.

      10.    Defendant Moss leads the Commission’s public meetings, which are held

twice monthly. Each Commission meeting begins with a roll call, pledge of allegiance,

and an invocation or prayer. The invocation is typically led by a local church leader.

      11.    Upon information and belief, the Commission does not have a written

policy setting forth the standards for the selection and invitation of individuals to

lead the invocation at its meetings. Rather, the selection and invitation of individuals

to lead the invocation is left to the discretion of the members of the Commission.



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      12.    Upon information and belief, prior to 2023, the Commission selected

individuals to lead the invocation at its meetings by allowing different Commissioners

on a rotating basis to pick individuals to offer the prayer.

      13.    Upon information and belief, since Defendant Moss became Chairperson

of the Commission on January 3, 2023, only he selects individuals to lead the

invocation at meetings, and no other Commissioner has been permitted to do so.

      14.    Since Defendant Moss became Chairperson, pastors of Christian

churches have led the invocation, some providing the prayer more than once. Some

individuals who have led the invocation have included statements of praise for

Ottawa Impact, the far-right political group that Defendant Moss leads and founded,

whose Commissioners currently hold a controlling majority of the Commission.

      15.    Upon information and belief, those who have been selected to offer the

invocation before Commission meetings all have the same or similar religious beliefs

as Defendant Moss, and all are male.

      16.    Reverend Cramer first asked County Commissioner Roger Bergman to

assist him in joining the rotation to give the invocation at a Commission meeting,

consistent with Reverend Cramer’s past experience, prior to 2023, in asking his

County Commissioner to select him to offer the prayer. Commissioner Bergman

advised Reverend Cramer that Defendant Moss alone now selects those chosen to

give the invocation before Commission meetings.

      17.    On May 9, 2023, Reverend Cramer reached out to Defendant Moss by

email to request the opportunity to lead the invocation at a Commission meeting.



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Reverend Cramer included John Gibbs, the Ottawa County Administrator, as well as

two other commissioners on the email. Reverend Cramer informed Defendant Moss

in his email that he had given the invocation in the past, and he asked that he be

added to the rotation of clergy who give the invocation.

      18.    On August 30, 2023, Reverend Cramer sent the same communication

asking for the opportunity to lead the invocation at a Commission meeting by

registered U.S. Mail to Defendant Moss.

      19.    Defendant Moss never responded to Reverend Cramer, either by email

or any other method of communication. Defendant Moss has not invited Reverend

Cramer to lead the invocation or, upon information and belief, added him to any

rotation of pastors and other religious individuals who do so.

      20.    Since his election to the Commission, Defendant Moss has dedicated

some of his efforts on undoing the County’s efforts at inclusion. On the day he was

sworn in, Defendant Moss led the Commission’s efforts to dissolve the County’s Office

of Diversity, Equity, and Inclusion, and to change the County’s motto from “Where

You Belong” to “Where Freedom Rings.”

      21.    Defendant Moss has championed an anti-LGBTQ+ agenda as

Chairperson. Early into his tenure, Defendant Moss attempted to hold up a grant

that had been awarded to an LGBTQ+ advocacy group for a youth program. When

Defendant Moss ultimately signed the paperwork as Chairperson of the Commission

to release the funds, he initially refused to sign his name and wrote only “vi coactus,”

which is Latin for “having been forced.”



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      22.    St. John’s Episcopal Church, which Reverend Cramer leads, holds itself

out as a place of worship that is welcoming to all, including those in the LGBTQ+

community. On its website, St. John’s Episcopal Church has a “Welcoming

Statement” that includes the following language: “No matter who you are, whom you

love, or where you are on your journey, we invite ALL people to join us and be fully

involved in the ministry of Christ we share.”

      23.    Reverend Cramer has been a visible advocate for the inclusion of

members of the LGBTQ+ community, particularly within religious life. Among other

things, Reverend Cramer organized the first worship service to recognize Pride

month in Grand Haven. “Pride” events, and the term “Pride,” have come to be known

as events or actions which support and celebrate inclusion and acceptance of citizens

who identify as LGBTQ+. St. John’s Episcopal Church flies the well-recognized

rainbow Pride flag over the front door of the church in downtown Grand Haven.

      24.    In June 2023, Reverend Cramer joined two other local pastors in leading

the third annual Pride Worship Service in downtown Grand Haven. Reverend

Cramer was also part of the organizing committee to bring the first-ever Pride festival

to Grand Haven in June 2023.

      25.    Defendant Moss and other Ottawa Impact Commissioners responded to

the County’s Health Department providing information about Health Department

services at the Pride festivals in Grand Haven and Holland, Michigan, by passing a

resolution critical of such events. Defendant Moss’s resolution purported to bar

County resources from future similar gatherings, falsely claiming – among other



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things – that Pride festivals are dangerous to children and that they endorse

pedophilia.

       26.    Upon information and belief, the Commission does not have a non-

discriminatory policy that allows individuals of various religious denominations and

beliefs to lead the invocation; on the contrary, Defendant Moss alone chooses

individuals based on his personal endorsement of their religious beliefs.

       27.    Upon information and belief, Defendant Moss has not responded to

Reverend Cramer or invited him to lead the invocation because Defendant Moss

disagrees with the religious beliefs of Reverend Cramer and the church he leads.

       28.    Defendant Moss’s refusal to allow Reverend Cramer to lead the

invocation demonstrates the Commission’s policy of religious discrimination in

selecting individuals to lead the invocation.

       COUNT I – VIOLATION OF THE FIRST AMENDMENT TO THE U.S.
         CONSTITUTION – 42 U.S.C. § 1983 AS TO ALL DEFENDANTS

       29.    Plaintiff relies on the allegations of all prior paragraphs, as if they were

restated herein.

       30.    Defendants’ policy for selecting and inviting individuals to lead the

invocation at Commission meetings has the predominant effect of advancing a

particular set of religious beliefs.

       31.    Defendants’ actions endorse a particular set of religious beliefs and

exclude a particular set of religious beliefs.




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       32.    Defendants do not employ a policy of non-discrimination in choosing

individuals to lead the invocation; on the contrary, Defendants discriminate against

certain religious beliefs.

       33.    Defendants’ actions violate the Establishment Clause of the First

Amendment.

                                  RELIEF SOUGHT

       WHEREFORE, Plaintiff requests that the Court grant the following relief:

       A.     Declare that Defendants must adopt and abide by a policy of non-

discrimination for selecting individuals to lead the invocation at Commission

meetings;

       B.     Declare that Defendants must allow Reverend Cramer to lead the

invocation and add him to the rotation of individuals who do so;

       C.     Award Plaintiff punitive damages;

       D.     Award Plaintiff costs and reasonable attorney fees; and

       E.     Award Plaintiff such other relief as may be just and equitable.



                                              PINSKY SMITH, PC
                                              Attorneys for Plaintiff

Dated: October 3, 2023                  By:   /s/ Sarah R. Howard
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                                  JURY DEMAND
      To the extent that jury trial is available as to any of the issues set forth

above, Plaintiff hereby demands same.

                                        PINSKY SMITH, PC
                                        Attorneys for Plaintiff


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